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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:                                            )
MAIREN R. REAGAN                                  )
                                                  )      Case No. 18-16796-MER
                                                  )      Chapter 7
                Debtor.                           )


               NOTICE OF MOTION TO APPROVE SETTLEMENT AGREEMENT
                  BETWEEN THE TRUSTEE AND RACHEL MCQUEENEY


                           OBJECTION DEADLINE: OCTOBER 10, 2018

        YOU ARE HEREBY NOTIFIED that Jared C. Walters, chapter 7 trustee herein, has filed a
motion for order approving his settlement agreement with Rachel McQueeney (the “Motion”). The Trustee
requests the following relief: approval of a settlement agreement providing for McQueeney to shall cause
one-third (1/3), or $4,004.55, of the pre-petition transfer totaling $12,133.65 to be paid to the Trustee.

        For the reasons stated in the Motion, Trustee asserts the Settlement Agreement is fair and
reasonable, in the best interest of the estate and its creditors, and should be approved by the Court. See In
re Kaiser Steel Corp., 105 B.R. 971, 976 (D. Colo. 1989).

        If you oppose the motion or object to the requested relief your objection and request for hearing
must be filed on or before the objection deadline stated above, served on the movant at the address indicated
below, and must state clearly all objections and any legal basis for the objections.

        The Court will not consider general objections. In the absence of a timely, substantiated objection
and request for hearing by an interested party, the Court may approve or grant the requested relief without
any further notice to creditors or other interested parties.

        DATED this 19th day of September, 2018.

                                                          Respectfully submitted,

                                                          /s/ Jared Walters
                                                          Jared Walters, #32287
                                                          PO Box 804
                                                          Eagle, CO 81631
                                                          Phone: 970-456-3395
                                                          Jcwalters7@gmail.com
                                                          Chapter 7 Trustee
